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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

Patent Group LLC,                                 §
                Relator                           §
                                                  §
v.                                                § Civil Action No. 2:10-cv-354-TJW-CE
                                                  §
Grand Enterprises West, Inc.,                     §
                  Defendant                       § Jury Trial Demanded

                       ORDER AND DISMISSAL WITH PREJUDICE

       Plaintiff PATENT GROUP, LLC has entered into a settlement resolving the claims,

counterclaims and defenses pleaded in this civil action and has agreed to the entry of this Order

and Dismissal with Prejudice. It is, therefore, ORDERED as follows:

       1.      All claims and counterclaims asserted in this action are hereby dismissed with

prejudice.

       2.      All costs, including attorneys’ fees, shall be paid by the party incurring same.

       3.      All relief not expressly granted herein is denied.

       4.      The United States District Court for the Eastern District of Texas, Marshall

Division, shall maintain continuing jurisdiction over this matter for the purposes of enforcing and

interpreting the terms of the Settlement Agreement should it be necessary.

       SIGNED this 12th day of September, 2011.



                                             __________________________________________
                                             T. JOHN WARD
                                             UNITED STATES DISTRICT JUDGE
